                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                       No. 5:20-CV-216-BO

 CBRE HEERY, INC. ,                             )
                                                )
             Plaintiff,                         )
                                                )
       v.                                       )
                                                )
 RLI INSURANCE COMPANY, et al. ,                )
                                                )
             Defendants.                        )
                                                )                   ORDER
 SOUTHERN GLASS & MIRROR OF                     )
 EASTERN NORTH CAROLINA, INC. ,                 )
                                                )
             Counterclaim Plaintiff,            )
                                                )
       V.                                       )
                                                )
 CBRE HEERY, INC.,                              )
                                                )
              Counterclaim Defendant.           )

       This matter is before the court with regard to Plaintiff/Counterclaim Defendant' s consent

motion to modify the scheduling order. [DE-68]. For good cause shown, the motion is allowed,

and the deadlines are amended as follows: Expert reports shall be completed by October 18, 2021,

all discovery shall be completed by February 14, 2022, and all potentially dispositive motions

shall be filed by April 1, 2022. The provisions of the court' s October 22, 2020 scheduling order

[DE-35] not altered herein remain in effect.

       SO ORDERED, the 18th day of October, 2021.




                                               United States Magistrate Judge



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